          Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 1 of 29




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  HERITAGE FOUNDATION et. al,

           Plaintiffs,

  v.
                                                              Civil Action No. 23-1198 (CJN)
  U.S. DEPARTMENT OF HOMELAND
  SECURITY

           Defendant.


                                              ANSWER

        Defendant the U.S. Department of Homeland Security (“DHS” or “Defendant”) hereby

answers Plaintiffs the Heritage Foundation and Mike Howell’s Amended Complaint, (ECF No. 7).

All allegations not specifically admitted, denied, or otherwise responded to below are hereby

denied. To the extent that the Amended Complaint refers to or quotes from external documents,

statutes, or other sources, Defendant may refer to such materials for their accurate and complete

contents; however, Defendant’s references are not intended to be, and should not be construed to

be, an admission that the cited materials are: (a) correctly cited or quoted by Plaintiffs; (b) relevant

to this, or any other, action; or (c) admissible in this, or any other, action. Moreover, Defendant

reserves the right to amend, alter and supplement the defenses contained in this Answer as the facts

and circumstances giving rise to the Complaint become known to the Defendant through the course

of this litigation.

        Defendant responds to the separately numbered paragraphs as follows:
         Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 2 of 29




    AMENDED COMPLAINT AND PRAYER FOR DECLARATORY AND INJUNCTIVE
                              RELIEF1

       1.      The allegations in this paragraph characterize Plaintiffs’ FOIA request which

Plaintiffs attached to their amended complaint as Exhibit 1. The request speaks for itself and is

the best evidence of its contents. Furthermore, Plaintiffs’ allegations regarding media coverage

do not set forth claims of relief or aver facts in support of a claim, and thus, the Court should strike

them as immaterial and impertinent matters pursuant to Rule 12(f). To the extent the allegations

seek to provide background facts in support of allegations of public interest, Defendant admits

there may be some public interest in the records sought but presently lacks knowledge or

information sufficient to form a belief as to the existence and/or extent of any public interest,

including as compared to any countervailing interests.

       2.      The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

                                              PARTIES

       3.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.




1
        For ease of reference only, Defendant’s Answer largely replicates the headings contained
in the Amended Complaint. Although Defendant believes that no response is required to such
headings, to the extent a response is required and to the extent those headings could be construed
to contain factual allegations, those allegations are denied.
                                                   2
         Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 3 of 29




       4.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       5.      Defendant admits that it is a federal “agency” within the meaning of 5 U.S.C.

§552(f)(1). The remaining allegations quote Defendant’s website. The website speaks for itself

and is the best evidence of its contents.

       6.      Defendant admits that U.S. Customs and Border Protection (“CBP”) is a

component of DHS. The remaining allegations quote the CBP website. The website speaks for

itself and is the best evidence of its contents. Additionally, Defendant notes that Plaintiffs

misidentified CBP as Customs and Border “Patrol.”

       7.       Defendant admits the allegation in paragraph 7 and respectfully refers the Court to

the cited link for a full and accurate statement of its contents.

                                 JURISDICTION AND VENUE

       8.      This paragraph consists of Plaintiffs’ conclusions of law, to which no response is

required. To the extent a response is deemed required, Defendant admits that this Court has subject

matter jurisdiction over proper Freedom of Information Act (“FOIA”) actions.

       9.      This paragraph consists of Plaintiffs’ conclusions of law, to which no response is

required. To the extent a response is deemed required, Defendant admits that venue is proper in

this Court.

                                            BACKGROUND

       10.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records



                                                   3
         Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 4 of 29




sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and case law that Plaintiffs cite speaks for itself and is the best evidence

of its contents.

        11.        The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and case law that Plaintiffs cite speaks for itself and is the best evidence

of its contents.

        12.        The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and case law that Plaintiffs cite speak for themselves and are the best

evidence of its contents.

        13.        The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support



                                                    4
            Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 5 of 29




of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and case law that Plaintiffs cite speak for themselves and are the best

evidence of its contents.

        14.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statute that Plaintiffs cite speaks for itself and is the best evidence of its contents.

        15.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the regulation that Plaintiffs cite speaks for itself and is the best evidence of its

contents.

        16.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support



                                                    5
         Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 6 of 29




of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and regulations that Plaintiffs cite speak for themselves and are the best

evidence of their contents.

        17.       The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes that Plaintiffs cite speaks for themselves and are the best evidence of

their contents.

        18.       The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statute that Plaintiffs cite speaks for itself and is the best evidence of its contents.

        19.       The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support



                                                    6
         Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 7 of 29




of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and regulations that Plaintiffs cite speak for themselves and are the best

evidence of their contents.

       20.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and regulations that Plaintiffs cite speak for themselves and are the best

evidence of their contents.

       21.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and regulations that Plaintiffs cite speak for themselves and are the best

evidence of their contents.

       22.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters



                                                 7
         Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 8 of 29




pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

Additionally, the statutes and regulations that Plaintiffs cite speak for themselves and are the best

evidence of their contents.

       23.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       24.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       25.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence



                                                 8
         Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 9 of 29




and/or extent of any public interest, including as compared to any countervailing interests.

       26.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       27.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       28.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       29.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records



                                                 9
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 10 of 29




sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       30.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       31.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       32.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       33.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support



                                                10
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 11 of 29




of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       34.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       35.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       36.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       37.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters



                                                11
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 12 of 29




pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       38.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       39.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       40.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.




                                                12
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 13 of 29




       41.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       42.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       43.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       44.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records




                                                13
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 14 of 29




sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       45.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       46.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       47.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       48.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support



                                                14
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 15 of 29




of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       49.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       50.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.

       51.     The allegations in this paragraph do not set forth claims of relief or aver facts in

support of a claim, and thus, the Court should strike them as immaterial and impertinent matters

pursuant to Rule 12(f). To the extent the allegations seek to provide background facts in support

of allegations of public interest, Defendant admits there may be some public interest in the records

sought but presently lacks knowledge or information sufficient to form a belief as to the existence

and/or extent of any public interest, including as compared to any countervailing interests.




                                                15
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 16 of 29




                                     Plaintiffs’ FOIA Request

       52.     Defendant admits that it received Plaintiffs’ FOIA request on March 8, 2023.

Defendant avers that it forwarded Plaintiffs’ FOIA request to the DHS components that Defendant

believed possessed potentially responsive records, namely U.S. Citizenship and Immigration

Services (“USCIS”), CBP, and the Office of Biometric Identity Management (“OBIM”).

       53.     The allegations in this paragraph characterize Plaintiffs’ FOIA request which

Plaintiffs attached to their Amended Complaint as Exhibit 1. The request speaks for itself and is

the best evidence of its contents.

       54.     The allegations in this paragraph characterize Plaintiffs’ FOIA request which

Plaintiffs attached to their Amended Complaint as Exhibit 1. The request speaks for itself and is

the best evidence of its contents.

       55.     The allegations in this paragraph characterize Plaintiffs’ FOIA request which

Plaintiffs attached to their Amended Complaint as Exhibit 1. The request speaks for itself and is

the best evidence of its contents.

       56.     The allegations in this paragraph characterize Plaintiffs’ FOIA request which

Plaintiffs attached to their Amended Complaint as Exhibit 1. The request speaks for itself and is

the best evidence of its contents.

       57.     Defendant admits that CBP responded to Plaintiffs’ request on March 9, 2023. The

allegations in this paragraph characterize CBP’s March 9, 2023 response to Plaintiffs which

Plaintiffs attached to their Amended Complaint as Exhibit 10. The response speaks for itself and

is the best evidence of its contents. The remainder of this paragraph contains legal conclusions to

which no response is required and editorial characterizations of Defendant’s response which

Defendant denies. Defendant denies any remaining allegations in this paragraph.



                                                16
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 17 of 29




       58.      Defendant admits that Plaintiffs submitted an administrative appeal to CBP but

denies that such appeal was submitted on April 15, 2023. The allegations in this paragraph

characterize Plaintiffs’ administrative appeal which Plaintiffs attached to their Amended

Complaint as Exhibit 11. The appeal speaks for itself and is the best evidence of its contents. The

remainder of this paragraph contains legal conclusions to which no response is required and

editorial characterizations of Defendant’s response which Defendant denies. Defendant denies

any remaining allegations in this paragraph.

       59.      The allegations in this paragraph consist of Plaintiffs’ legal conclusions to which

no response is required. To the extent that a response is deemed required, Defendant admits that

CBP is required to respond to FOIA appeals within 20 business days.

       60.      Deny.

       61.      Defendant admits that on March 13, 2023, a USCIS FOIA liaison spoke with

Plaintiffs’ counsel on the telephone. Defendant denies that the allegations in this paragraph

accurately describe the conversation.

       62.      Defendant denies the allegation in the first sentence of this paragraph. With respect

to the second sentence, Defendant respectfully refers the Court to the USCIS FOIA electronic

reading room as the best evidence of its contents.

       63.      Defendant admits that a USCIS FOIA liaison discussed the FOIA request with

Plaintiffs’ counsel. Defendant denies that the allegations in this paragraph accurately describe the

conversation.

       64.      Defendant admits that USCIS acknowledged Plaintiffs’ request on March 15, 2023,

and respectfully refers the Court to the cited letter attached to the Amended Complaint as Exhibit




                                                 17
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 18 of 29




12 for a full and accurate statement of its contents and denies any allegations inconsistent

therewith.

       65.        Defendant respectfully refers the Court to the cited letter for a full and acurate

statement of its contents and denies any allegations inconsistent therewith.

       66.        Defendant denies the allegations in this paragraph and avers that USCIS does not

have record of sending an email to Plaintiffs on April 3, 2023.

       67.        Defendant denies the allegations in this paragraph and avers that USCIS sent

Plaintiffs a response to their FOIA request on May 30, 2023.

       68.        The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent a response is deemed required, Defendant admits that it is

required to decide on an expedited processing request within ten days of receipt.

       69.        Defendant admits the allegations in the first sentence of this paragraph. The

remaining allegations in this paragraph are legal conclusions to which no response is required. To

the extent that a response is deemed required, Defendant denies the remaining allegations in this

paragraph.

       70.        Defendant admits that it received Plaintiffs’ supplemental letter and attachments

and respectfully refers the Court to Plaintiffs cited exhibit for a full and accurate statement of their

contents.

       71.        Defendant admits that it received Plaintiffs’ supplemental letter and attachments

and respectfully refers the Court to Plaintiffs’ cited exhibits for a full and accurate statement of

their contents.




                                                  18
         Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 19 of 29




        72.     Defendant admits that it received Plaintiffs’ supplemental letter and attachments

and respectfully refers the Court to Plaintiffs’ cited exhibit for a full and accurate statement of their

contents.

        73.     Defendant admits that USCIS received a letter from Plaintiffs on April 5, 2023.

The letter, attached as Exhibit 15 to Plaintiffs’ Amended Complaint, speaks for itself and is the

best evidence of its contents. The remaining allegations in this paragraph consist of Plaintiffs’

legal conclusions, which do not require a response. To the extent that a response is deemed

required, Defendant denies that Plaintiffs are entitled to expedited processing.

        74.     Defendant admits the allegations in the first sentence of this paragraph. The

remaining allegations in this paragraph are legal conclusions to which no response is required. To

the extent that a response is deemed required, Defendant denies the remaining allegations in this

paragraph.

        75.     Defendant admits to the allegations in the first sentence of this paragraph. The

remainder of the allegations in this paragraph consistent of Plaintiffs’ characterization of the April

13, 2023, message which Plaintiffs attached to their Amended Complaint as Exhibit 16. The

message speaks for itself and is the best evidence of its contents.

        76.     The allegations in this paragraph characterize and draw conclusions based on

CBP’s April 13, 2023, message to Plaintiffs which Plaintiffs attached to their Amended Complaint

as Exhibit 16. The message speaks for itself and is the best evidence of its contents. Defendant

denies the remaining allegations in this paragraph.

        77.     Defendant lacks knowledge or information sufficient to form a belief as to when

Plaintiffs received the message and refers the Court to Exhibit 16 of Plaintiffs’ Amended

Complaint for the best evidence of the contents of the exchange of messages.



                                                   19
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 20 of 29




       78.     Admit.

       79.     Admit.

       80.     Admit.

       81.     Defendant admits that DHS Headquarters acknowledged Plaintiffs’ FOIA request

on April 6, 2023 and respectfully refers the Court to the letter, attached to the Amended Complaint

as Exhibit 17, as the best evidence of its contents.

       82.     Deny

       83.     The allegations in this paragraph are Plaintiffs’ characterizations of the DHS

Headquarters response letter which Plaintiffs attached as Exhibit 17 to their Amended Complaint.

Defendant respectfully refers the Court to the letter as the best evidence of its contents and denies

any allegations inconsistent therewith.

       84.     Admit.

       85.     Deny.

                              FIRST CLAIM FOR RELIEF
                             Violation of FOIA, 5 U.S.C. § 552
               Failure to Conduct Adequate Searches for Responsive Records.

       86.     Defendant incorporates its responses to paragraphs 1-85 as if fully set out herein.

       87.     The allegations in this paragraph quote and characterize a memorandum from the

Attorney General regarding FOIA. The memorandum speaks for itself and it is the best evidence

of its contents. Defendant denies any allegations in this paragraph that are inconsistent therewith.

       88.     The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant admits that at

least some of the records that Plaintiffs requested are within the custody and control of DHS or its




                                                 20
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 21 of 29




components. Defendant denies that Plaintiffs properly requested those records or that Plaintiffs

are necessarily entitled to those records.

       89.      The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent a response is deemed required, Defendant admits that it is

subject to FOIA.

       90.      Deny.

       91.      The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant denies that it

failed to conduct searches.

       92.      The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant denies that

Plaintiffs have a statutory right to the records that they seek.

       93.      The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required.

       94.      The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant denies that

Plaintiffs would be irreparably harmed by any deficiencies in Defendant’s response to Plaintiffs’

FOIA request.

       95.      The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.




                                                  21
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 22 of 29




       96.     The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant admits that

Plaintiffs exhausted their administrative remedies.

                              SECOND CLAIM FOR RELIEF
                             Violation of FOIA, 5 U.S.C. § 552
                   Wrongful Withholding of Non-Exempt Responsive Records

       97.     Defendant incorporates its responses to paragraphs 1-96 as if fully set out herein.

       98.     The allegations in this paragraph quote and characterize a memorandum from the

Attorney General regarding FOIA. The memorandum speaks for itself, and it is the best evidence

of its contents. Defendant denies any allegations in this paragraph that are inconsistent therewith.

       99.     The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant admits that at

least some of the records that Plaintiffs requested are within the custody and control of DHS or its

components. Defendant denies that Plaintiffs properly requested those records or that Plaintiffs

are necessarily entitled to those records.

       100.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent a response is deemed required, Defendant admits that it is

subject to FOIA.

       101.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required.

       102.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required.

       103.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required.



                                                22
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 23 of 29




       104.     The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant denies that

Plaintiffs have a statutory right to the information that they are seeking.

       105.     The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required.

       106.     The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies that

Plaintiffs would be irreparably harmed by any deficiencies in Defendant’s response to Plaintiffs’

FOIA request.

       107.     The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       108.     The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant admits that

Plaintiffs exhausted their administrative remedies.

                                  THIRD CLAIM FOR RELIEF
                                 Violation of FOIA, 5 U.S.C. § 552
                                  Wrongful Denial of Fee Waiver

       109.     Defendant incorporates its responses to paragraphs 1-108 as if fully set out herein.

       110.     The allegations in this paragraph quote and characterize a memorandum from the

Attorney General regarding FOIA. The memorandum speaks for itself, and it is the best evidence

of its contents. Defendant denies any allegations in this paragraph that are inconsistent therewith.

       111.     The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant admits that at



                                                 23
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 24 of 29




least some of the records that Plaintiffs requested are within the custody and control of DHS or its

components. Defendant denies that Plaintiffs properly requested those records or that Plaintiffs

are necessarily entitled to those records.

       112.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant admits to the

allegations in this paragraph.

       113.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       114.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       115.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       116.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant admits that it

did not comply with the time limit.

       117.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.




                                                24
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 25 of 29




       118.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       119.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       120.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant denies that the

allegations in this paragraph.

       121.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant admits that

Plaintiffs exhausted their administrative remedies.

                                   FOURTH CLAIM FOR RELIEF
                                   Violation of FOIA, 5 U.S.C. § 552
                                 Statutory Bar Against Charging Fees

       122.    Defendant incorporates its responses to paragraphs 1-121 as if fully set out herein.

       123.    The allegations in this paragraph quote and characterize a memorandum from the

Attorney General regarding FOIA. The memorandum speaks for itself, and it is the best evidence

of its contents. Defendant denies any allegations in this paragraph that are inconsistent therewith.

       124.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant admits that at

least some of the records that Plaintiffs requested are within the custody and control of DHS or

its components. Defendant denies that Plaintiffs properly requested those records or that

Plaintiffs are necessarily entitled to those records.



                                                  25
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 26 of 29




       125.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       126.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       127.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       128.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required.

       129.    The allegations in this paragraph are Plaintiffs conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       130.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant denies that

Plaintiffs would be irreparably harmed by paying fees to process their request.

       131.    The allegations in this paragraph are Plaintiffs conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.

       132.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant admits that

Plaintiffs exhausted their administrative remedies.



                                                26
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 27 of 29




                                FIFTH CLAIM FOR RELIEF
                               Violation of FOIA, 5 U.S.C. § 552
                            Wrongful Denial of Expedited Processing

       133.    Defendant incorporates its responses to paragraphs 1-132 as if fully set out herein.

       134.    The allegations in this paragraph quote and characterize a memorandum from the

Attorney General regarding FOIA. The memorandum speaks for itself, and it is the best evidence

of its contents. Defendant denies any allegations in this paragraph that are inconsistent therewith.

       135.    The allegations in this paragraph are Plaintiffs’ conclusions of law to which no

response is required. To the extent that a response is deemed required, Defendant admits that at

least some of the records that Plaintiffs requested are within the custody and control of DHS or

its components. Defendant denies that Plaintiffs properly requested those records or that

Plaintiffs are necessarily entitled to those records.

       136.    Deny.

       137.    Defendant admits that it did not grant Plaintiffs expedited processing. Defendant

denies the remaining allegations in this paragraph.

       138.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required.

       139.    The allegations in this paragraph are Plaintiffs’ conclusions of law, to which no

response is required. To the extent that a response is deemed required, Defendant denies that

Plaintiffs will be irreparably harmed by Defendant’s denial of their expedited processing request.

       140.    Deny. The allegations in this paragraph are Plaintiffs conclusions of law to which

no response is required. To the extent that a response is deemed required, Defendant denies the

allegations in this paragraph.




                                                  27
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 28 of 29




       The remaining paragraph in the Amended Complaint consists of Plaintiffs’ prayer for

relief, to which no response is required. Defendant denies that Plaintiffs are entitled to the relief

requested, or to any relief whatsoever.

                                            First Defense

       The Court lacks subject matter jurisdiction over Plaintiffs’ requests for relief to the extent

that they exceed the relief authorized under FOIA. See 5 U.S.C. § 552.

                                           Second Defense

       The FOIA requests that are the subject of this lawsuit seek the production of certain

information that is protected from disclosure by one or more statutory exemptions. Disclosure of

such information is not required or permitted. See 5 U.S.C. § 552(b).

                                           Third Defense

       Plaintiffs are not entitled to declaratory relief.

                                           Fourth Defense

       Plaintiffs are neither eligible for nor entitled to attorneys’ fees.

                                            Fifth Defense

       Plaintiffs are not entitled to expedited processing.

                                            Sixth Defense

       Plaintiffs are not entitled to a fee waiver.

                                          Seventh Defense

       Plaintiffs failed to reasonably describe the records sought.

                                           Eighth Defense
       To the extent the Complaint alleges background facts unnecessary to the consideration of

Defendant’s response to the FOIA request at issue, the Complaint violates Rule 8(a)(2) by alleging

information that is unnecessary to a “short and plain” statement of the claim. The Court should

                                                  28
        Case 1:23-cv-01198-CJN Document 15 Filed 05/31/23 Page 29 of 29




strike all such immaterial and impertinent matters pursuant to Rule 12(f). See Mich. Immigr. Rts.

Ctr. v. Dep’t of Homeland Sec., Civ. A. No. 16-14192, 2017 WL 2471277, at *3 (E.D. Mich. June

8, 2017) (deeming stricken under Rule 12(f) background facts alleged in a FOIA complaint: “In

this unique context, requiring Defendants to answer allegations in Plaintiffs’ complaint that they

would not otherwise be required to answer, and that are not material to Plaintiffs’ FOIA claim,

would prejudice Defendants.”); Robert v. Dep’t of Just., Civ. A. No. 05-2543, 2005 WL 3371480,

at *11 (E.D.N.Y. Dec. 12, 2005) (striking allegations of background facts; concluding that

plaintiff’s “allegations are irrelevant to the validity of [his] FOIA claims”).

Dated: May 31, 2023
       Washington, DC
                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES, D.C. Bar #481052
                                                 United States Attorney

                                                 BRIAN P. HUDAK
                                                 Chief, Civil Division

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                                                  29
